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                                          September 21, 2022

VIA ECF:
Hon. Magistrate Judge Sanket J. Bulsara
US District Court – EDNY
225 Cadman Plaza East
Brooklyn, New York 11201


                                               Re:     Nai He Li v. Moon Mode Design Fashion, Inc., et al
                                                                             1:22-cv-00793-HG-SJB


To Your Honor:
        This office represents Defendants in the above captioned action. Counsel writes to request a
brief extension to file Defendants Answer nunc pro tunc to tomorrow September 22, 2022. Counsel
pleads law office failure regarding calendaring by previous staff at counsel’s office.
         The answer was previously due on September 12, 2022 (Dkt. No. 24) per so-ordered
stipulation. No prejudice can be had against Plaintiff for a ten day delay in being served the Answer
in this action.
       Counsel thanks the Court for its time and attention to this matter.


Best regards,


Kevin S. Johnson, Esq.
VIA ECF:
Brian Eugene Nettle, Esq.; geno@nettle-law.com
Margaret Ellen McIntyer, Esq.; mem596@icloud.com




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